                                                Case: 23-3630        Document: 24       Filed: 08/18/2023       Page: 1


                                                                              No. 23-3630

                                                              UNITED STATES COURT OF APPEALS
                                                                   FOR THE SIXTH CIRCUIT


                                   PARENTS DEFENDING EDUCATION,                            )
                                                                                           )
                                          Plaintiff-Appellant,                             )
                                                                                           )
                                   v.                                                      )            ORDER
                                                                                           )
                                   OLENTANGY LOCAL SCHOOL DISTRICT                         )
                                   BOARD OF EDUCATION, et al.,                             )
                                                                                           )
                                          Defendants-Appellees.                            )


                                          Plaintiff organization appeals the district court's order denying its motion to enjoin

                                   defendant school district from enforcing several anti-bullying policies in this action alleging that

                                   the policies violate plaintiffs' First and Fourteenth Amendment rights by requiring them to refer

                                   to transgender and non-binary students by their preferred pronouns.           Plaintiff moves for

                                   expedited oral argument during the Court’s sitting in December, 2023, indicating defendants are

                                   not opposed to expedited argument.

                                          The motion to expedite is GRANTED IN PART, only insofar as that upon the

                                   completion of briefing, this appeal will be submitted to the court at the earliest practicable date

                                   that the court’s schedule will permit. The decisions as to when and whether oral argument will

                                   be conducted and whether to expedite the issuance of a decision are reserved to the merits panel

                                   to which this appeal will be assigned.

                                                                                 ENTERED PURSUANT TO RULE 45(a)
                                                                                 RULES OF THE SIXTH CIRCUIT




                                                                                 Deborah S. Hunt, Clerk




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